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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

JEUNESSE, LLC,

              Plaintiff,


v.                                                      Case No. 20-CV-00468-LPS

ZHOU XIIJAN a/k/a JOE ZHOU, NANJING
JOYMAIN SCIENCE & TECHNOLOGY
DEVELOPMENT CO., TIM RICHERSON and
VIIVA, LLC,

              Defendants.

   STIPULATED AND AGREED JUDGMENT, PERMANENT INJUNCTION, AND
 ORDER OF DISMISSAL WITH PREJUDICE OF DEFENDANTS ZHOU XIIJAN AND
                            VIIVA, LLC

        Pursuant to the stipulations and the agreements of Plaintiff, JEUNESSE, LLC

(“Jeunesse”), and Defendants, ZHOU XIIJAN a/k/a JOE ZHOU (“Zhou”) and VIIVA,

LLC (“Viiva”) (hereinafter collectively referred to as the “Settling Defendants”),

        WHEREAS, this action was commenced on April 2, 2020, by the filing of the

Complaint;

        WHEREAS, each Settling Defendant was served with summons and the

Complaint;

        WHEREAS, in the Complaint, Jeunesse seeks injunctive relief and monetary

damages against Defendants for alleged breach of The Defend Trade Secrets Act of 2016,

18 U.S.C. § 1836, et seq., and for substantial and related claims under Delaware statutory

and common laws, including alleged breach of Delaware’s Uniform Trade Secrets Act,


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DEL. CODE ANN. § 2001, et seq., alleged breach of Delaware’s Uniform Deceptive Trade

Practices Act, DEL. CODE ANN. § 2531, et seq., alleged breach of contract, and alleged

tortious interference with economic advantage;

       WHEREAS, Jeunesse alleges that it has sustained substantial, immediate, and

irreparable injury and claims that it is entitled to damages and injunctive relief, as alleged

in the Complaint;

       WHEREAS, the Settling Defendants do not admit the allegations in the

Complaint, and expressly deny any wrongdoing or liability to Jeunesse, but are

nevertheless willing to stipulate to this Judgment and Permanent Injunction to avoid the

cost, inconvenience, and uncertainty of litigation; and

       WHEREAS, Settling Defendants now stipulate and consent to this Judgment and

Permanent Injunction, to its prompt entry by the Court, and to each provision herein.

       NOW THEREFORE, upon consent of the parties hereto, it is

       HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.     For the purposes of this action, this Court has jurisdiction over the subject

matter of this case and jurisdiction over Settling Defendants.

       2.     For the purposes of this action, venue is proper in this District.

       3.     Settling Defendants hereby waive any and all right to an appeal from this

Judgment and Permanent Injunction.

       4.     Settling Defendants are permanently enjoined and restrained from directly

or indirectly, maintaining, possessing, disclosing, using, or sharing any of Jeunesse’s

confidential information actually received in connection with the 2017 or 2019 failed

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acquisition/merger negotiations involving Jeunesse, Nanjing Joymain, Zhou, and

Richerson, including the confidential information referenced in the 2017 and 2019

Confidentiality Agreements (Docs. 1-1 and 1-2 of the court record) (the “Confidential

Jeunesse Data”).

       5.     Settling Defendants shall return all Confidential Jeunesse Data within their

possession, custody, or control within 24 hours of the entry of this Judgment and

Permanent Injunction and confirm in writing that any electronically stored Confidential

Jeunesse Data within Settling Defendants’ possession, custody, or control has been

destroyed.

       6.     Settling Defendants are prohibited from manufacturing, distributing,

selling, marketing, advertising, or promoting any product bearing the name “AM/PM” or

any variation of the name “AM/PM” as it relates to nutritional supplements, vitamins, or

similar products, including “AMPM III.”

       7.     Settling Defendants are prohibited from soliciting, inducing, encouraging,

or attempting to solicit, induce, or encourage, for one (1) year from the entry of this

Judgment and Permanent Injunction any of the following: Dr. Vincent Giampapa and any

member of Jeunesse’s executive team.

       8.     Settling Defendants are prohibited from aiding, assisting, or abetting any

other individual or entity in doing any act prohibited by ¶¶ 4-7 herein.

       9.     No later than five (5) business days after the entry of this Judgment and

Permanent Injunction, Settling Defendants shall pay Jeunesse the total sum of $5,000,

representing a portion of the attorneys’ fees incurred by Jeunesse to bring this action.

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       10.    This Judgment and Permanent Injunction shall be binding upon and shall

inure to the benefit of the parties and their respective heirs, successors, assigns, and

acquiring companies.

       11.    Jeunesse and the Settling Defendants are prohibited from making any

public statement regarding each other or the subject matter of this lawsuit. If either

Jeunesse or any of the Settling Defendants are asked about the subject matter of this

lawsuit they may respond only that the dispute was settled on mutually agreeable terms

without any party admitting wrongdoing pursuant to this stipulated Judgment and

Permanent Injunction.

       12.    If any Settling Defendant is found by the Court to be in contempt of, or

otherwise to have violated this Judgment and Permanent Injunction, Jeunesse shall be

entitled to all available relief which the Court may award, including sanctions for

contempt, damages, injunctive relief, attorneys’ fees, costs, and any other relief deemed

proper in the event of such violation.

       13.    The Court retains jurisdiction of this matter for the purposes of enforcing

the terms of this Judgment and Permanent Injunction.

       IT IS FURTHER ORDERED that, pursuant to FED. R. CIV. P. 41(a)(2), all

claims asserted against Zhou Xiijan and Viiva, LLC are hereby dismissed with

prejudice, with each party to bear its/his own attorney’s fees and costs, preserving all

rights to pursue the pending causes of action against Defendant Nanjing Joymain

Science & Technology Development Co.

       SO ORDERED.

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                            CERTIFICATE OF SERVICE

      I hereby certify that on this 7th day of May, 2020, a true and correct copy of

Stipulated and Agreed Judgment, Permanent Injunction, and Order of Dismissal

With Prejudice of Defendants Zhou Xiijan and Viiva, LLC was filed electronically in

the ECF system. Notice of this filing will be sent to the parties of record by operation of

the Court’s electronic filing system. Parties may access this filing through the Court’s

system.



                                          s/ Andrew E. Cunningham
                                          Andrew E. Cunningham

                                          Attorney for Plaintiff
                                          Jeunesse, LLC
